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Transcript of the Testimony of
The Joint United States Coast
Guard/Bureau of Ocean Energy
Management Investigation

Date taken: December 8, 2010
AM Session

USCG/BOEM Board of Investigation (Re: Deepwater
Horizon)

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1 site leader, which is Mr. Vidrine,

2 Mr. Kaluza and Mr. Sepulvado; is that right,
3 sir?

4 A And Mr. Lambert.

5 Q And Mr. Lambert. How about

6 Mr. Morel, Brian Morel?

7 A I participated in one interview

8 with Mr. Morel. And I can't remember if I

9 participated in Mr. Sepulvado's interview.
10 I may have.

11 Q Are you under any restrictions in
12 terms of your discussions with the Board?

13 A I'm not aware of any restrictions.
14 Q Then I will proceed in touching

15 some --

16 MS. KARIS:

17 Captain, just so I can be clear,
18 BP is not asserting privilege over

19 Mr. Robinson's work in connection with those
20 lnncexnvilews and internal investigation.
21 The only thing we would assert
22 privilege with is obviously any work in
23 connection with his testimony before this
24 Board. But we're not asserting privilege
25 over those interviews. And so when you say

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1 restrictions, just to be clear.

2 CAPT. NGUYEN:

3 Yes, ma'am. I just wanted to be

4 clear in my mind what the rules of

5 engagement are.

6 EXAMINATION BY CAPT. NGUYEN:

7 Q Now, we discussed about well

8 control training early on. We talked about
9 well control training early on?

10 A Yes, sir.

11 QO In a discussion between you and

12 Mr. Mathews. What is the well control

13 training requirements for well site leader?
14 A They are to comply with the MMS

15 well control certification requirements,

16 which I believe is every -- You have to

17 attend an MMS-approved well control course.
18 I believe it's every two years.

19 Q Every two years, that's
20 specifically specified in the regulations or
21 does that refer to some industry standards
22 for the two years?
23 A I believe that's a regulation.
24 Q For two years, sir?
25 A Maybe I got that wrong.

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